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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                CASE NO. 19-cv-23948-GAYLES

  ELLIOTT ASKA, as Personal Repre-
  sentative of the Estate of Conrad Jules
  Aska, deceased, on behalf of himself and
  all potential beneficiaries and heirs,
         Plaintiff,
  v.
  ATLAS AIR WORLDWIDE
  HOLDINGS, INC.; ATLAS AIR, INC.;
  AMAZON.COM SERVICES, INC.;
  AMAZON FULFILLMENT SERVICES,
  INC.; F & E AIRCRAFT
  MAINTENANCE (MIAMI), LLC; and
  FLIGHTSTAR AIRCRAFT SERVICES,
  LLC,
        Defendants.
  ___________________________________/
                                              ORDER
        THIS CAUSE comes before the Court on the parties’ Stipulation Withdrawing Notice of

 Removal and Remanding to State Court (the “Stipulation”) [ECF No. 7]. The Court has reviewed

 the Stipulation and the record and is otherwise fully advised. Based thereon it is

        ORDERED AND ADJUDGED that

            (1) the case shall be REMANDED to the Eleventh Judicial Circuit in and for Miami-

                Dade County, Florida; and

            (2) the case is CLOSED for administrative purposes.

        DONE AND ORDERED in Chambers at Miami, Florida, this 7th day of October, 2019.



                                               ________________________________
                                               DARRIN P. GAYLES
                                               UNITED STATES DISTRICT JUDGE
